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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA                       )
                                               )        Criminal No. 1:20-CR-239-TSE-2
       v.                                      )
                                               )        Hon. T. S. Ellis, III
EL SHAFEE ELSHEIKH                             )
                                               )
                       Defendant.              )        Hearings: November 16-19, 2021


                   UNITED STATES’ RESPONSE IN OPPOSITION
             TO DEFENDANT’S MOTION TO DISMISS THE INDICTMENT

       Under longstanding Supreme Court and Fourth Circuit precedent, a defendant is not enti-

tled to dismissal of an indictment because the grand jury heard evidence obtained in violation of

his Fifth Amendment rights. As explained in the government’s response in opposition to defend-

ant’s motion to suppress, the government does not believe the admission of any of defendant’s

statements would violate the Fifth Amendment in the first instance. Nonetheless, even assuming

arguendo a Fifth Amendment violation occurred, the sole remedy is suppression of the challenged

statements at trial, not dismissal of the indictment.

       It is a general rule that “[a]n indictment returned by a legally constituted and unbiased

grand jury, like an information drawn by the prosecutor, if valid on its face, is enough to call for

trial of the charge on the merits.” United States v. Costello, 350 U.S. 359, 363–64 (1956). In

United States v. Blue, 384 U.S. 251 (1966), the Supreme Court held that a defendant was not

entitled to dismissal of the indictment even if it assumed that the government had acquired infor-

mation in violation of the Fifth Amendment and presented it to the grand jury. See id. at 255 &

n.3; see also Gelbard v. United States, 408 U.S. 41, 60 (1972) (“The ‘general rule,’ as illustrated

in Blue, is that a defendant is not entitled to have his indictment dismissed before trial simply

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because the Government ‘acquire(d) incriminating evidence in violation of the (law),’ even if the

‘tainted evidence was presented to the grand jury.’”).

       In 1973, the Supreme Court again clarified that “an indictment valid on its face is not sub-

ject to challenge on the ground that the grand jury acted on the basis of inadequate or incompetent

evidence, or even on the basis of information obtained in violation of a defendant’s Fifth Amend-

ment privilege against self-incrimination.” United States v. Calandra, 414 U.S. 338, 345 (1973)

(internal citations omitted) (citing Lawn v. United States, 355 U.S. 339 (1958)); see also id. at 346

(“[A]n indictment based on evidence obtained in violation of a defendant’s Fifth Amendment priv-

ilege is nevertheless valid….”). Subsequently, in Bank of Nova Scotia v. United States, 487 U.S.

250 (1988), although the Supreme Court acknowledged that certain prejudicial errors relating to

the actual constitution or independence of the grand jury might provide a basis for dismissing the

indictment—like prosecutorial misconduct or racial or gender discrimination—it maintained Cal-

andra’s rule that defendants are not permitted to challenge the reliability or competence of the

evidence that the grand jury heard. See id. at 260–61. The Fourth Circuit has adhered to this rule.

See, e.g., United States v. Jefferson, 546 F.3d 300, 312 (4th Cir. 2008) (“Under controlling prece-

dent, a facially valid indictment is not subject to dismissal simply because the grand jury may have

considered improper evidence, or because it was presented with information or evidence that may

contravene a constitutional privilege.”).

       Defendant’s mostly out-of-Circuit case law is either inapposite or directly in conflict with

this binding precedent. For example, defendant’s first cited case is Jones v. United States, 342 F.2d

863 (D.C. Cir. 1964), which adopted an interpretation of Costello and Lawn that was directly con-

trary to the Supreme Court’s subsequent holdings in Blue and Calandra. Indeed, almost all of

defendant’s out-of-Circuit cases were decided before Calandra’s clear statement of the rule in



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1973. See, e.g., Def. Br. 1–2 (citing cases from 1972, 1964, 1965, 1966, 1920, 1968, and 1953).1

In defendant’s sole in-Circuit citation, the Fourth Circuit concluded that the presentation of erro-

neous evidence as to six venue counts could not have prejudiced other valid counts and constituted

no improper influence on the grand jury; it did not even address Fifth Amendment privileges and

grand-jury evidence, much less hold, contrary to Blue and Calandra, that such statements might

constitute a basis to dismiss a facially valid indictment. See United States v. Brewer, 1 F.3d 1430,

1433 (4th Cir. 1993).

        The only post-Calandra case cited by defendant dealing specifically with self-incriminat-

ing statements before the grand jury is United States v. Allen, 864 F.3d 63 (2d Cir. 2017), in which

a government witness reviewed defendants’ ostensibly compelled testimony to a foreign govern-

ment before testifying both before the grand jury and at trial. The Allen court cited Calandra

exactly once, in a footnote, for an unrelated point. See id. at 81 & n.75. In reaching its conclusion

that this grand jury testimony was tainted and required dismissal of the indictment, the court relied

on prior Second Circuit precedents and the Supreme Court’s decision in United States v. Hubbell,

530 U.S. 27 (2000). But Hubbell (and its predecessor in Kastigar v. United States, 406 U.S. 441

(1972)) dealt with the scope of immunity in 18 U.S.C. §§ 6002 and 6003 when a defendant testifies

or produces documents to a court or grand jury under a court order. On its own terms, § 6002

applies only to “an order issued under this title” when a witness refuses to give testimony or doc-

uments in a formal proceeding before “a court or grand jury of the United States,” or other federal



1 Still others are wholly inapposite on their own terms. Both United States v. Johnson, 463 F.2d
70 (10th Cir. 1972), and United States v. Tane, 329 F.2d 848 (2d Cir. 1964), for example, were
cases in which the indictments were dismissed not because tainted evidence was presented to the
grand jury, but because the government conceded that, after suppression of the challenged evi-
dence, it had insufficient evidence to prove the charges. The government makes no such conces-
sion here.

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proceedings like congressional or agency testimony. In other words, cases about the scope of

immunity and dismissal under a § 6003 order do not compel the same result for self-incriminatory
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statements made in other contexts. Moreover, in Hubbell, the government did not argue that it

had sufficient evidence other than the immunized testimony to sustain a prosecution, demonstrat-

ing that the dismissal remedy was less about a tainted grand jury and more about the sufficiency

of the evidence. See 530 U.S. at 45; cf. supra note 1.

        In short, nothing in Hubbell purports to overrule Blue and Calandra’s unequivocal state-

ments that defendants cannot obtain dismissal of an indictment because the grand jury heard evi-

dence obtained in violation of the Fifth Amendment privilege against self-incrimination. And even

if some tension exists, courts are not to assume that the Supreme Court’s later decisions “have, by

implication, overruled an earlier precedent”; “[r]ather, courts should follow the case that directly

controls, leaving to the Court the prerogative of overruling its own decisions.” Agostini v. Felton,

521 U.S. 203, 207 (1997); accord Payne v. Taslimi, 998 F.3d 648, 654 (4th Cir. 2021) (quoting

State Oil Co. v. Khan, 522 U.S. 3, 20 (1997), for the proposition that “it remains the Supreme

Court’s ‘prerogative alone to overrule one of its precedents’”).

        Because Blue and Calandra are the directly controlling precedents, this Court is required

to apply their rule, not out-of-Circuit cases like Allen that conflict with them. Accordingly, in

addition to the lack of any Fifth Amendment violation as explained in the government’s response

in opposition to defendant’s motion to suppress, any use of such evidence before the grand jury

provides no basis for dismissal, and the Court should deny the motion.


2 The 1972 Second Circuit precedent on which Allen relied also dealt with §§ 6002 and 6003-
immunized testimony before a federal grand jury. See United States v. Hinton, 543 F.2d 1002 (2d
Cir. 1972). Allen’s extension of this case law to statements made to a foreign government thus
textually extended the scope of the statute and brought its conclusion into direct conflict with Su-
preme Court precedent.

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                                  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 22, 2021, I electronically filed this motion with the Clerk

of Court using the CM/ECF system, which will transmit a Notice of Electronic Filing to all coun-

sel of record in this case.


                                   /s/ Raj Parekh
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